     Case 2:21-cv-01817-MWF-MAA Document 15 Filed 12/02/21 Page 1 of 1 Page ID #:123




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 6                               UNITED STATES DISTRICT COURT
 7                              CENTRAL DISTRICT OF CALIFORNIA
 8
 9     Arthur Shishmanian, an individual,         )   Case No.: CV 21-1817 MWF (MAAx)
10                 Plaintiff,                     )
                                                  )   [Removed from Los Angeles County
11           vs.                                  )   Superior Court Case No. 20STCV46211]
12 US Bank National Assoc., a California          )
   Corporation, and DOES 1 through 20,            )   ORDER FOR DISMISSAL
13 Inclusive,                                     )
14                                                )
               Defendants.                        )
15                                                )
16                                                )

17
18           With GOOD CAUSE APPEARING, the parties’ Stipulation for Dismissal is
19     approved and this entire action is hereby dismissed with prejudice.
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21     Dated: December 2, 2021
22                                           MICHAEL W. FITZGERALD
                                             United States District Judge
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                                          ORDER FOR DISMISSAL
